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 1
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 8
                              IN THE UNITED STATES DISTRICT COURT
 9                                FOR THE DISTRICT OF ARIZONA
10

11   United States of America,                         NO. CR-18-00422-PHX-SMB

12                       Plaintiff,                    DEFENDANTS’ MOTION TO COMPEL
     vs.                                               PRODUCTION OF BRADY MATERIAL
13

14   Michael Lacey, et al.,                            (Oral argument requested)

15                     Defendants.
16

17

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20

21          Defendants James Larkin, Michael Lacey, John Brunst, Scott Spear, Andrew Padilla, and
22   Joye Vaught, by and through their undersigned attorneys, hereby move for an order compelling
23   production of Brady material in a manner that will enable counsel to effectively use such material
24   in preparation for trial. This Motion is based on the attached Memorandum of Points and
25   Authorities, the Court’s file, and any evidence or argument presented at the hearing on this
26   matter. This is the Defendants’ first such motion.
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 1          Excludable delay under 18 U.S.C. § 3161(h)(1) may occur as a result of this Motion or
 2   of an order based thereon.
 3   DATED: October 18, 2019            Paul J. Cambria, Jr.
 4                                      Erin E. McCampbell
                                        LIPSITZ GREEN SCIME CAMBRIA LLP
 5
                                        By:    /s/ Paul J. Cambria, Jr.
 6
                                               Paul J. Cambria, Jr.
 7                                             Attorneys for Michael Lacey
 8
 9   DATED: October 18, 2019            Thomas H. Bienert, Jr.
                                        Whitney Z. Bernstein
10                                      BIENERT KATZMAN, PLC
11
                                        By:    /s/ Whitney Z. Bernstein
12                                             Whitney Z. Bernstein
                                               Attorneys for James Larkin
13

14
     DATED: October 18, 2019            Bruce Feder
15                                      FEDER LAW OFFICE, P.A.
16
                                        By:    /s/ Bruce Feder
17                                             Bruce Feder
                                               Attorneys for Scott Spear
18

19
     DATED: October 18, 2019            Gary S. Lincenberg
20                                      Ariel A. Neuman
                                        Gopi K. Panchapakesan
21
                                        BIRD, MARELLA, BOXER, WOLPERT, NESSIM,
22                                      DROOKS, LINCENBERG & RHOW, P.C.

23                                      By:    /s/ Ariel A. Neuman
24                                             Ariel A. Neuman
                                               Attorneys for John Brunst
25

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     DATED: October 18, 2019     David Eisenberg
 1
                                 DAVID EISENBERG, P.L.C.
 2
                                 By:   /s/ David Eisenberg
 3                                     David Eisenberg
 4                                     Attorneys for Andrew Padilla

 5
     DATED: October 18, 2019          Joy Bertrand
 6
                                 JOY BERTRAND, ESQ.
 7
                                 By:   /s/ Joy Bertrand
 8                                     Joy Bertrand
 9                                     Attorneys for Joye Vaught

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 1                       MEMORANDUM OF POINTS AND AUTHORITIES
 2          Defendants James Larkin, Michael Lacey, John Brunst, Scott Spear, Andrew Padilla, and
 3   Joye Vaught (“Defendants”) move for an order compelling prompt production of Brady material
 4   in a manner that will enable counsel to effectively use such material in preparation for trial.
 5   I.     The government must make broad disclosures under Brady.
 6          Under Brady v. Maryland, 373 U.S. 83 (1963), United States v. Agurs, 427 U.S. 97
 7   (1976), United States v. Bagley, 473 U.S. 667 (1985), and Kyles v. Whitley, 514 U.S. 419
 8   (1995), the government must promptly disclose all exculpatory and/or impeaching material
 9   in the prosecution’s possession, custody or control or which is otherwise known to the
10   prosecution. This broad disclosure obligation includes, but is not limited to, disclosure of:
11
                    a.     Any written or recorded statements, admissions or confessions made
12
                           by any witness, and the name and address of any such individual,
13                         which may be exculpatory, non-incriminatory, or otherwise favorable
                           to the Defendants, or any summaries, synopsis, notes, memoranda, or
14                         resumes thereof, regardless of whether such statements are reduced to
15                         writing and regardless of whether the prosecution intends to use such
                           statements at the trial herein;
16
                    b.     The name and address of any other witness who might have favorable
17
                           evidence as to the Defendants, which are known, or which by the
18                         exercise of due diligence shall or should become known to the
                           Government;
19

20                  c.     Any notes, memoranda, summaries, reports, or statements of any kind
                           prepared in connection with the investigation of this case which are in
21                         any way favorable to the defense including notes prepared by the
                           Government or any of its agents in connection with either the review
22
                           of documents or the interview or other conversations with witnesses
23                         or other individuals contacted in connection with this case;

24                  d.     Any and all prior criminal records of any witnesses intended to be
25                         used in any fashion by the prosecution, or any other such information
                           demonstrating the commission on their part, or participation therein,
26                         of any so-called “bad acts” or other instances of immoral or criminal
                           conduct, or conduct indicating a lack of veracity;
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 1
                   e.     Any and all statements, memoranda or other similar notations or
 2                        information which would in any way reflect inconsistent statements
                          made by any witness contacted by the Government, or any such
 3                        individual engaged in lying or other conduct calculated to conceal the
 4                        truth or improperly reflect facts;

 5                 f.     Any information tending to indicate that information supplied by a
                          particular document or witness contradicts or is contradicted by a
 6
                          different document or witness; and;
 7
                   g.     Any and all consideration or promises of consideration given during
 8                        the course of the investigation and preparation of this matter by any
 9                        law enforcement officials, including prosecutors or agents, police or
                          informers, to or on behalf of any witness.
10
            The list set forth above is not exclusive because the defense cannot anticipate all
11
     areas which may lead to a Brady disclosure; however, the government’s disclosure
12
     obligation is broad and includes any information which in any way leads to favorable or
13
     impeaching material, even if the disclosed material is not directly admissible in a court
14
     proceeding. Due process requires that the government not suppress evidence favorable to
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     a defendant or discrediting to its own case, and, upon request, that it disclose to the defense
16
     all such information. See Brady, 373 U.S. at 87; Agurs, 427 U.S. at 105-06; Pyle v. State
17
     of Kansas, 317 U.S. 213, 216 (1942). The requirement of disclosure extends to candor by
18
     the government witnesses as well as matters which relate more directly to guilt or
19
     innocence. See Giglio v. United States, 405 U.S. 150, 153 (1972); Napue v. Illinois, 360
20
     U.S. 264, 265 (1959); see also Williams v. Dutton, 400 F.2d 797, 799 (5th Cir. 1968), cert.
21
     denied, 393 U.S. 1105 (1969).
22
            The Brady rule grew out of a realization by the Supreme Court that a defendant’s
23
     ability for acquiring evidence is disproportionate to that of the government. Most
24
     defendants have neither the manpower nor the access and contacts available to the
25
     government in its investigation. Thus, the prosecution is obliged to share the proceeds of
26
     its discovery with the defense when that evidence is favorable to the defendant’s case.
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 1   Indeed, the importance of Brady has been so strongly enforced that the Supreme Court, in
 2   United States v. Bagley, 473 U.S. 667, 676 (1985), unequivocally extended the duty of
 3   disclosure to information which may be used by the accused for impeachment at trial.
 4          Further, the government must promptly disclose such material so it can be used for
 5   effective trial preparation. Indeed, effective preparation for trial is the cornerstone of
 6   effective representation of criminal defendants and disclosure of information which, in any
 7   of a variety of ways, impeaches a witness’s credibility is required before trial to enable
 8   effective preparation. As the D.C. Circuit has recognized:
 9
                   Disclosure by the government must be made at such a time as
10                 to allow the defense to use the favorable material effectively in
                   the preparation and presentation of its case, even if satisfaction
11                 of this criterion requires pre-trial disclosure.
12   United States v. Pollack, 534 F.2d 964, 973 (D.C. Cir. 1976) (emphasis added) (citations
13   omitted).
14          The need for pre-trial disclosure of Brady material has been highlighted in several
15   cases. In United States v. Bernal-Obeso, 989 F.2d 331 (9th Cir. 1993), irreconcilable
16   discrepancies between the informer’s actual record and government’s representation about
17   the prior record indicated the informer had misled his government handlers. The Court
18   vacated the defendant’s conviction and remanded for an evidentiary hearing “to restore the
19   parties” to their “pre-trial” position and to ascertain whether the informer had lied to the
20   government. Id. at 336-337; see also United States v. Bejasa, 904 F.2d 137, 140 (2d Cir.
21   1990), cert. denied, 498 U.S. 921 (1990) (concluding that a government file which
22   contained impeachment material regarding a prosecution witness should have been
23   produced prior to the witness’s testimony); Gorham v. Wainwright, 588 F.2d 178, 180 (5th
24   Cir. 1979) (recognizing that, under certain circumstances, delayed revelation of
25   discoverable evidence may deny a defendant an effective defense); United States v.
26   Opager, 589 F.2d 799, 805 (5th Cir. 1979) (harm was done by the pre-trial failure of the
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 1   government to disclose the whereabouts of the informant; crucial importance was given to
 2   pretrial opportunity to interview and/or investigate potential witness); Grant v. Alldredge,
 3   498 F.2d 376, 381-382, n.5 (2d Cir. 1974) (failure of government to disclose before trial
 4   that bank teller picked out photograph of another individual was error); United States v.
 5   Baxter, 492 F.2d 150, 174 (9th Cir. 1973), cert. denied, 416 U.S. 940 (1974) (delay in
 6   turning over requested favorable evidence is unconstitutional when delay in disclosure
 7   substantially prejudiced the preparation of the defense); Clay v. Black, 479 F.2d 319, 320
 8   (6th Cir. 1973) (per curiam) (pre-trial disclosure of an FBI scientific report would have
 9   permitted defense to establish necessary claim of custody to introduce certain blood stains);
10   United States v. Polisi, 416 F.2d 573, 577 (2d Cir. 1969) (the importance of Brady is to
11   measure the effects of the suppression upon the defendant’s preparation for trial); and
12   Hamric v. Bailey, 386 F.2d 390, 393 (4th Cir. 1967) (to be effective, disclosure must be
13   made at a time when disclosure would be of value to the accused).
14          Numerous district courts have ordered pretrial disclosure of such material well
15   before the start of trial to enable defense counsel to effectively prepare the defense. See
16   United States v. Thevis, 84 F.R.D. 47, 54 (N.D. Ga. 1979) (delaying disclosure of Brady
17   materials useful for impeachment until the night preceding the testimony is insufficient);
18   United States v. Five Persons, 472 F. Supp. 64, 69 (D.N.J. 1979) (by adoption of a standard
19   order, district judges declared that the rights to due process and a fair trial require
20   availability of Brady material within 10 days after arraignment) (emphasis added); United
21   States v. Goldman, 439 F. Supp. 337, 349 (S.D.N.Y. 1977) (if exculpatory evidence is
22   produced for the first time at trial, defendant may not have an adequate opportunity to
23   effectively utilize the material; all Brady material to be provided “immediately”); United
24   States v. Dillard, 419 F. Supp. 1000, 1002 (N.D. Ill. 1976) (in light of complex decisions
25   of strategy and preparation, it is better practice to require disclosure in advance of trial);
26   United States v. Quinn, 364 F. Supp. 432, 441 (N.D. Ga. 1973), aff’d on other grounds,
27

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 1   514 F.2d 1250 (5th Cir. 1975), cert. denied, 424 U.S. 955 (1976) (Jencks Act timetable
 2   cannot control release of information to which defendant is constitutionally entitled).
 3          Recognizing the importance of the immediate disclosure of such material to the
 4   effective preparation of the defense, Judge Logan noted that the government stipulated to
 5   disclose Brady and Giglio materials to the defense within ten days of discovery and
 6   “implored” the government to “abide by its stipulation” without making the Court order it
 7   to do so. (See Doc. 339 at 5-6.) The government has failed to do what it told Judge Logan
 8   it would do.
 9   II.    The government has withheld categories of Brady material.
10          Defendants move for an order requiring immediate disclosure of all such evidence,
11   to the extent that it has not yet been disclosed. Defendants believe that there are large
12   categories of Brady material that the government has withheld. For example, Backpage
13   undertook significant efforts to rid its site of child-sex trafficking, including working with
14   various non-governmental organizations, law enforcement, and elected officials, as well as
15   hiring an internet safety expert to advise Backpage on measures to prevent underage users
16   from posting ads. Backpage promptly responded to requests from law enforcement and
17   blocked users associated with law enforcement requests. This evidence stands in stark
18   contrast with the government’s repeated claim that Defendants intentionally facilitated
19   child sex trafficking, but has not been disclosed to Defendants.
20          Further, Backpage users regularly created and posted ads for lawful adult services,
21   such as ads for dating, body rubs, strippers and strip clubs, phone and websites, adult jobs,
22   domination and fetishes, and escorts. The posting of those ads was lawful because
23   advertisement for those services is lawful and protected under the First Amendment. See
24   Backpage.com, LLC v. Dart, 807 F.3d 229, 234 (7th Cir. 2015) (“[N]ot all advertisements for
25   sex are advertisements for illegal sex.”).1 Consequently, each and every such ad is Brady
26
     1
             Accord Doe v. Backpage.com LLC, 104 F Supp. 3d 149, 156-57 (D. Mass. 2015),
27   aff’d, 817 F.3d 12 (1st Cir. 2016) (“The existence of an escorts section in a classified ad
28                                                 8
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 1   material because such ads contradict the government’s claim that the “vast majority” of
 2   ads posted to Backpage were ads for illegal prostitution. Again, the government has not
 3   provided this material.
 4      Based on the foregoing, Defendants respectfully request that this Court order the
 5   government to immediately disclose any and all witnesses, documents, and information
 6   indicating that:
 7

 8
                • Backpage reported ads involving potential underage users to the National
                  Center for Missing and Exploited Children (NCMEC) or law enforcement.
 9
                • Employees of Backpage and its affiliates said they took affirmative steps to
10
                  keep off the website any ads they knew related to sex trafficking or
11                prostitution and had no knowledge of the website knowingly running any
                  such ads.
12

13              • Users posted or attempted to post ads to Backpage for lawful adult activities
                  in the adult categories (including, but not limited to, dating, body rubs,
14                strippers and strip clubs, phone and websites, adult jobs, domination and
                  fetishes, and escorts.
15
            Finally, nearly a year ago, Defendants wrote to the government seeking the
16
     disclosure of dozens of categories of Brady evidence, including the authority for requesting
17

18

19   service, whatever its social merits, is not illegal.”); Backpage.com, LLC v. McKenna,
     881 F. Supp. 1262, 1282 (W.D. Wash. 2012) (escort ads have long been permitted and
20   escort services are licensed and regulated in many states); Backpage. com, LLC v.Cooper,
     939 F. Supp. 805, 816, 833-34 (D. Tenn. 2013) (ads on Backpage.com are protected speech
21   under the First Amendment); Backpage.com, LLC v. Hoffman, 2013 WL 4502097, at *9-
22   11 (D.N.J. 2013) (rejecting argument that escort ads on the website are unprotected
     speech); M.A. v. Village Voice Media Holdings, LLC, 809 F. Supp. 2d 1041, 1049-50
23   (E.D. Mo. 2011); see also Dart v. Craigslist, Inc., 665 F. Supp. 2d 961, 968 (N.D. Ill.
24
     2009) (“We disagree . . . that the ‘adult services’ section is a special case. The phrase
     ‘adult,’ even in conjunction with ‘services,’ is not unlawful in itself nor does it
25   necessarily call for unlawful content.”); Cohen v. Bd. of Supervisors, 707 P.2d 840, 852
     (Cal. 1985) (“An escort service may very well involve lawful activities relating to sex.”
26   (internal quotations omitted)).
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 1   such evidence. (A true and correct copy of the Oct. 26, 2018 Letter from M. Piccarreta to
 2   K. Rapp is attached hereto as Ex. A.) The government has not, yet, disclosed this evidence
 3   or affirmatively stated that it has searched for such evidence but was unable to locate
 4   evidence subject to the requests. Consequently, it is unclear whether this evidence exists,
 5   but the government must search for it and either disclose it or indicate to Defendants that
 6   it does not exist. Defendants respectfully request that this Court order the government to
 7   immediately disclose any and all witnesses, documents, and information relating to the
 8   following:
 9
            • High-ranking Department of Justice officials have informed Congress
10            that websites publishing advertisements posted by third parties could
11            not be prosecuted under federal criminal law absent specific knowledge
              about specific ads and an intent to facilitate crimes related to those
12            specific ads. For example, in response to the question “what laws apply
13            to Internet providers like craigslist that would make them criminally
              liable for the postings,” the DOJ’s National Coordinator for Child
14            Exploitation, Prevention, and Interdiction, Francie Hakes, testified “I
15            am not aware of any laws that would make them liable, unless there was
              evidence that Craigslist was a participant ... conspiring with those who
16
              were misusing their site, that is, knowingly conspiring to violate the
17            laws. . . . I am not aware of anything that shows us that craigslist might
              be criminally liable.”.Domestic Minor Sex Trafficking: Hearing
18
              Before Subcommittee on Crime, Terrorism, & Homeland Security of
19            the House Committee on the Judiciary, 111th Cong., p. 215 (Sept. 15,
20            2010). Any similar materials in the government's possession also
              constitute Brady material and must be disclosed immediately.
21
            • Legislators recently admitted (a month before the government obtained
22            its initial indictment in this matter) that “current federal criminal law . .
23            . presently lacks proper prosecutorial tools to combat [Backpage]” and
              “general knowledge that sex trafficking occurs on a website will not
24            suffice as the knowledge element must be proven as to a specific victim.”
25            Allow States And Victims To Fight Online Sex Trafficking Act of
              2017, House of Representatives Rept. 115-572 Part 1, p. 5, Feb. 20, 2018
26            (emphasis added).         Any similar materials in the government’s
27            possessionni also constitute Brady materials and must be produced.
28                                               10
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     • All communications to and from any federal, state, or local elected officials
 1
       relating to the possible criminal prosecution of Backpage or its directors,
 2     officers, or employees. Fitzgerald v. Peek, 636 F.2d 943, 945 (5th Cir.
 3
       1981) (due process prohibits prosecution based on improper influence
       exerted on the prosecutor to seek the indictments).
 4
     • All communications to and from any local, state, or federal law
 5     enforcement agents, officers, investigators, prosecutors, and other officials
       involved in any manner with the investigation or prosecution of Backpage
 6
       or its directors, officers, or employees. Fitzgerald v. Peek, 636 F.2d 943,
 7     945 (5th Cir. 1981) (due process prohibits prosecution based upon improper
       outside influences).
 8
     • All communications to and from m NCMEC relating to the possible
 9
       criminal prosecution of Backpage or its directors, officers, or employees.
10
     • All communications to and from any civil plaintiff’s lawyers representing
11     alleged sex trafficking victims, or advocacy organizations involved with
       sex trafficking, relating to the possible criminal prosecution of Backpage
12
       or its directors, officers, or employees.
13
     • All communications to and from local, state, and federal law enforcement
14     agents, officers, investigators, prosecutors, and other officials involved
       with the investigation or prosecution of Backpage or its directors,
15
       officers, or employees.
16   • All documents from NCMEC relating to Backpage, the posting of
17     advertisements for unlawful purposes (including sex trafficking) on
       Backpage, and the inability of a website operator such as Backpage to
18     determine whether adult-oriented postings relate to lawful activities or
19     unlawful activities or to determine whether adult-oriented postings relate to
       adults or minors.
20
     • All communications between Backpage and NCMEC relating to reports by
21     Backpage of possible unlawful activity involving minors.
22   • All documents evidencing, and all commendations from law enforcement
23     relating to, Backpage’s cooperation in any criminal investigations.
     • All communications to and from Nanci Clarence, or any lawyers
24
       representing Mr. Ferrer or Backpage, that relate in any manner to plea
25     negotiations or the plea agreement and all documents to or from the
26
       government and any other local, state, or federal law enforcement agents,
       officers, investigators, prosecutors, and other officials relative to Mr. Ferrer
27

28                                          11
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        that relate to the plea negotiations or plea agreement and all writings
 1
        subsequent to said plea agreement.
 2
     • All communications to and from K.C. Maxwell or any lawyers representing
 3     Mr. Hyer that relate in any manner to plea negotiations or the plea
       agreement and all documents to or from the government and any other
 4
       local, state, or federal law enforcement agents, officers, investigators,
 5     prosecutors, and other officials relative to Mr. Hyer that relate to the plea
       negotiations or plea agreement and all writings subsequent to said plea
 6
       agreement.
 7
     • All documents sent by Backpage to law enforcement (or vice versa) relating
 8     to Backpage cooperating with law enforcement efforts.
 9   • All Department of Justice memoranda relating to the department’s
       understanding of the applicable law governing Backpage during the
10
       relevant time periods.
11   • Any plea bargain, immunity agreement, explicit or implied agreement, or
12     any other promises any witness has received or will receive from any
       federal, state or local authority in exchange for his or her testimony or
13     cooperation in this case or in any other case—including, but not limited to,
14     any express or impled agreements not to seek to seize or forfeit assets that
       would be forfeitable under the theories the government is asserting to seize
15     and seek to forfeit the Defendants’ assets.
16   • Any information suggesting any bias, prejudice or motive that a witness
17     may have for testifying falsely against the Defendants. Pennsylvania v.
       Ritchie, 480 U.S. 39 (1987); United States v. Strifler, 851 F.2d 1197
18     (9th Cir. 1988); United States v. Abel, 469 U.S. 45 (1984).
19   • All promises, agreements, benefits, monies or anything of value
20     whatsoever made to or provided to a witness, his/her family or friends by
       federal, state or local authorities in this matter or any other matter—
21     including, but not limited to, any express or impled agreements not to seek
22     to seize or forfeit assets that would be forfeitable under the theories the
       government is asserting to seize and seek to forfeit the Defendants’ assets.
23     See United States v. Uramoto, 638 F.2d 84, 86 (9th Cir. 1980); United
24     States v. Leja, 568 F.2d 493 (6th Cir. 1977).

25   • Any monies paid, or any other benefit provided, to any of the
       government’s witnesses by the United States government or any other
26     governmental agency that was in any way contingent upon the outcome
27     of this or any other investigation as a result of information provided by

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        any such witnesses. United States v. Bagley, 473 U.S. 667, 683 (1985).
 1
     • All documents between a witness, or his/her representative, and the
 2
       government relating to the negotiations of the plea bargain agreement or
 3     where the witness has offered or proposed testimony. Brown v. Dugger,
 4
       831 F.2d 1547 (11th Cir. 1987) (evidence that witness sought plea
       bargain is to be disclosed even if no deal struck); Haber v. Wainwright,
 5     756 F.2d 1520, 1524 (11th Cir. 1985).
 6   • Proffers and statements made by an accomplice witness in negotiating a
 7     cooperation agreement with the government, along with information
       revealing the negotiation process, including but not limited to any and
 8     all variations in the accomplice witness’ statements. United States v.
 9     Sudikoff, 36 F.Supp.2d 1196 (C.D. Cal. 1999).

10   • All documents, including the government’s reports which indicate
       instances of illegal behavior of a witness or specific instances of
11     misconduct which relate in any manner whatsoever to the witness’
12     credibility. See Rule 608(b), Federal Rules of Evidence. This request
       includes any law enforcement reports relating to these instances. See
13
       United States v. Ray, 731 F.2d 1361 (9th Cir. 1984).
14   • Any prior contrary statements made by the government witness. Giles v.
15     Maryland, 386 U.S. 66 (1967); Spicer v. Roxbury Correctional Institute,
       194 F.3d 547 (4th Cir. 1999).
16
     • The existence of any witnesses or witness statements favorable to the
17
       Defendants. United States v. Wilkins, 326 F.2d 135 (2d Cir. 1964);
18     Jackson v. Wainwright, 390 F.2d 288 (5th Cir. 1968).
19   • Negative exculpatory statements, such as statements by informed
       witnesses that fail to implicate the Defendants in any criminal activity. See,
20     e.g., United States v. Torres, 719 F.2d 549, 555-56 (2d. Cir. 1983); Jones
21     v. Jago, 575 F.2d 1164, 1168 (6th Cir. 1978); Clemmons v. Delo, 124 F.3d
       944, 952 (8th Cir. 1997); White v. Helling, 194 F.3d 937, 944 (8th Cir.
22     1999).
23   • Any threats, express or implied, direct or indirect, or other coercion made
24     or directed against the witnesses, including but not limited to, criminal
       prosecutions, investigations, other incidents which are pending or could be
25     brought against the witnesses.
26   • The existence and notification of each occasion upon which the witnesses
27     testified before a Court, grand jury, or other tribunal or made other

28                                         13
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               statements so defendant can order transcripts for use in cross-
 1
               examination or investigation. See Rules 801(d)(l) and 806, Federal Rules
 2             of Evidence. See also Davis v. Heyd, 479 F.2d 446 (5th Cir. 1973).
 3          • Any grand jury statements of any witnesses which are favorable to the
              Defendants. United States v. Sink, 56 F.R.D. 365 (E. D. Pa. 1972).
 4
            • The identity of any witnesses who testified before the grand jury and who
 5
              will be unavailable to testify at trial. Arizona State Bar Ethics Opinion No.
 6            94-07 (March 1994). See LRCiv 83.2(e), Rules of Practice of the United
              States District Court for the District of Arizona.
 7
            • The names and addresses of any witnesses to offenses charged in the
 8
              indictment whom the government does not intend to call at trial. United
 9            States v. Cadet, 727 F.2d 1453, 1469 (9th Cir. 1984) (it is appropriate “to
              conclude from the fact that the government did not intend to call a witness
10
              to the crime that there was a reasonable possibility that such person would
11            be able to provide evidence favorable to the defense”).
12             In regard to law enforcement agents in this case, whether there have been
               any prior instances of untruthful statements by the agents or any complaints
13             filed with their governmental employer at any time relating to any incidents
14             which relate in any manner whatsoever to the agent’s credibility. See Rule
               608(b), Federal Rules of Evidence; United States v. Henthorn, 931 F.2d 29
15             (9th Cir. 1991); Milke v. Ryan, 711 F.3d 998 (9th Cir. 2013). It is further
16             requested that the prosecutor further personally review the personnel files
               for Brady material.
17
            • Any reports prepared by prosecution experts relating to the legality of the
18
              procedure used by government agents in the course of their investigation.
19            United States v. Gerena, 116 F.R.D. 596 (D. Conn. 1987).
20          • Evidence that is inconsistent with a witness’ testimony. United States v.
              Fisher, 106 F.3d 622, 634-35 (5th Cir. 1997); Ballinger v. Kerby, 3 F.3d
21
              1371, 1375-76 (10th Cir. 1993); Derden v. McNeel, 938 F.2d 605,617 (5th
22            Cir. 1991).
23
     III.   The government must seek and disclose materials in possession of
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            organizations that function as an arm of the government.
25
            In this case, the government’s obligations under Brady include procuring and
26
     disclosing any Brady material in the possession of organizations that function as an arm of
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28                                               14
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 1   the government. It is well settled that under Brady, the prosecutor is “deemed to have
 2   knowledge of and access to anything in the custody of any federal agency participating in
 3   the same investigation of the defendant.” United States v. Zuno-Arce, 44 F.3d 1420, 1427
 4   (9th Cir. 1995) (citing United States v. Bryan, 868 F.2d 1032, 1036 (9th Cir. 1989)).
 5   Furthermore, knowledge is imputed to the prosecutor where the “evidence is known to
 6   other members of the prosecution team . . . includ[ing] information in the hands of the
 7   police or other investigative agencies involved in the prosecution.” Odle v. Calderon, 65
 8   F. Supp. 2d 1065, 1071 (N.D. Cal. 1999) (emphasis added); see also Avila v. Quartermain,
 9   560 F.3d 299, 307 (5th Cir. 2009) (“It is well settled that if a member of the prosecution
10   team has knowledge of Brady material, such knowledge is imputed to the prosecutors.”).
11          In this case, the government must seek and disclose any Brady material in the
12   possession of the National Center for Missing and Exploited Children (“NCMEC”). It is
13   well-settled that NCMEC is an agent of the government. See United States v. Ackerman,
14   831 F.3d 1292, 1308 (10th Cir. 2016); United States v. Cameron, 699 F.3d 621, 645 (1st
15   Cir. 2012); United States v. Keith, 980 F. Supp. 2d 33, 41 (D. Mass. 2013); United States
16   v. Coyne, 2018 WL 8667649 at *9 (D. Vt. Apr. 10, 2018). First, NCMEC alone is
17   statutorily obliged to maintain an electronic tip line for internet service providers (“ISPs”)
18   to report potential internet child exploitation violations. See Ackerman, 831 F.3d at 1296.
19   Second, ISPs must report any such violations only to NCMEC, and no other governmental
20   agencies; ISP’s who fail to comply with this obligation face federal criminal penalties. See
21   id. Third, when NCMEC confirms receipt of a report from an ISP, that ISP must treat such
22   confirmation as a request to preserve evidence as if it was issued by the government itself.
23   See id. at 1297. Fourth, in furtherance of its tip line functions, NCMEC is statutorily
24   authorized to receive contraband (child pornography) knowingly and to review its contents
25   intentionally. See id. Finally, NCMEC receives direct aid from the government in the
26   form of monetary and personnel contributions. Law enforcement agents participate in
27   NCMEC’s daily operations and government officials occupy seats on NCMEC’s board.
28                                                15
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 1   See id. at 1298. And as much as seventy-five percent of NCMEC’s budget comes from the
 2   federal government. See id.
 3          In effect, NCMEC performs a traditional police function by collecting crime tips,
 4   reviewing those tips, and forwarding them to law enforcement agencies. See Coyne, 2018
 5   WL 8667649 at *8. NCMEC undertakes its clearinghouse role “in partnership with the
 6   government,” and is required to conduct and report its searches through various statutory
 7   provisions. Keith, 980 F. Supp. 2d at 41. The agency exists for no private purpose other
 8   than to assist law enforcement. See id.
 9          In United States v. Rosenschein, 2019 WL 2298810 (D.N.M May 30, 2019), the
10   court examined the more narrow issue of whether NCMEC was part of the “prosecution
11   team” for purposes of discovery. See id. at *1. Through the use of “PhotoDNA,” a program
12   which identifies potential child exploitation images, an ISP identified two images
13   distributed by defendant. See id. The ISP submitted these images to NCMEC, which
14   identified the location of the defendant and alerted the appropriate geographical law
15   enforcement agency.       See id.   Defendant moved to compel disclosure of various
16   documentation from NCMEC, including discovery pursuant to Brady. See id. at *2. The
17   court held that NCMEC was part of the prosecution team for discovery purposes, noting
18   that “NCMEC did conduct, as it is charged to do by statute, a limited investigation into the
19   facts of this case. This included an investigation to identify the location of the suspected
20   internet user.” Id. at *7. Based upon this finding, the court granted defendant’s motion to
21   compel. See id. at *10.
22          Here, NCMEC is clearly an agent of the government and has acted as a member of
23   the “prosecution team” for Brady purposes. NCMEC’s former President, Ernie Allen, met
24   and communicated with representatives of the Department of Justice (“DOJ”) on numerous
25   occasions, urging the DOJ to prosecute the Defendants for their former interest in the
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 1   company that operated Backpage. 2 (True and correct copies of documents confirming Mr.
 2   Allen’s meetings with the DOJ and a subsequent meeting among the DOJ and others at
 3   NCMEC relating to the prosecution of Backpage are attached hereto as Exs. B, C.) Further,
 4   NCMEC voluntarily provided information to the prosecution team in this case as NCMEC
 5   produced documents in response to a letter from the DOJ, rather than a grand jury
 6   subpoena. (A true and correct copy of a Letter from Linda Engstrom to Yiota Souras dated
 7   May 16 , 2017 is attached hereto as Ex. D). Finally, the prosecution has identified four
 8   current or former NCMEC employees or board members as witnesses against the
 9   Defendants on the government’s Witness List. Indeed, because NCMEC’s day-to-day
10   operations coordinate with the DOJ, and NCMEC officials have functioned as an arm of
11   the DOJ in this particular case, the government must obtain any information subject to
12   disclosure under Brady and Bagley from NCMEC and promptly disclose that information
13   to the Defendants.
14          Further, the government must seek and disclose any Brady evidence in the
15   possession of the Offices of the Attorney Generals for the States of California and Texas.
16   Critically, the government has stated that it “partner[ed]” with those Offices and that DOJ’s
17   investigation and seizure of Backpage was based on “significant support” from those
18   Offices.       See     April    9,    2018     DOJ      Press    Release,    available     at
19   https://www.justice.gov/opa/pr/justice-department-leads-effort-seize-backpagecom-
20   internet-s-leading-forum-prostitution-ads (last visited on Oct. 16, 2019). Based on this
21   admission of a partnership with those Offices, the government must seek and promptly
22   disclose any Brady material in their possession, custody or control.
23                                        CONCLUSION
24          For all these reasons, Defendants respectfully request that this Court order the
25   government to seek and promptly disclose all Brady material, including all material that is
26
     2
             Mr. Allen had similar meetings and communications with state law enforcement
27   officials.
28                                                17
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 1   in the possession, custody or control of the DOJ that has not yet been disclosed, as well as
 2   all material in possession, custody or control of organizations that function as an arm of
 3   the DOJ, including, but not limited to NCMEC, and the Offices for the Attorney Generals
 4   for the States of California and Texas.
 5          Counsel specifically reserves the right to make additional requests for the material
 6   covered above at the time this motion is argued, or at such other time as the existence of
 7   such materials shall become known to counsel for the Defendants, and it is respectfully
 8   requested that the prosecution be admonished that its duty under Brady/Giglio is a
 9   continuing one.
10          RESPECTFULLY SUBMITTED this 18th day of October, 2019,
11
                                               /s/    Paul J. Cambria, Jr.
12
                                               LIPSITZ GREEN SCIME CAMBRIA LLP
13                                             Attorneys for Defendant Michael Lacey
14

15

16   On October 18, 2019, a PDF version
     of this document was filed with
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